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         UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION

                          CASE NO.: 08-21997 CIV MORENO/TORRES
  IN RE:

  NEIL SCHEIN,
        Plaintiff,

  vs.

  NCL (BAHAMAS), Ltd., d/b/a
  NORWEGIAN CRUISE LINE LIMITED,
  A foreign corporation,
         Defendant.
  ____________________________/


                                        MOTION TO ABATE

           Comes now the undersigned counsel for the Plaintiff and hereby files her Motion to

  Abate, and as grounds therefore, state as follows:

        1. A Summons & Complaint was served by Plaintiff’s counsel on August 5, 2008 and

           Defendant’s Answer and Affirmative Defenses were filed on August 25, 2008.

        2. An Order Setting Trial Date and Discovery Schedule was entered by this Court on

           September 11, 2008. Attached hereto is a copy of the Scheduling Order.

        3. Plaintiff’s counsel was informed today that the Plaintiff, Neil Schein, passed away on

           August 28, 2008.

        4. Until this the Estate is opened, Plaintiff cannot proceed, and abate is requested until

           Letters of Testamentary or Letters of Administration can be submitted to the Court.

           WHEREFORE, the parties respectfully request that this Honorable Court enter an Order

  abating this action pending the issuance of Letters Testamentary or Letters of Administration and

  for such other relief as the Court deems appropriate.
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                                      a Foreign corporation,
                               Case No. 08-21997 Civ-Moreno/Torres




                                               Respectfully submitted,


                                               By:     ___s/Karen B. Cohen____
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                                                       Florida Bar No. 910333
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                                                       Facsimile: 305-654-4479
                                                       Attorney for Plaintiff, NEIL SCHEIN




                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 18, 2008, I electronically filed the foregoing
  document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is
  being served this day on all counsel of record or pro se parties identified on the attached Service
  List in the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.


                                               By:___s/Karen B. Cohen__________
                                               KAREN COHEN, ESQ.
                                               Florida Bar No. 910333


                                          SERVICE LIST


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                                     a Foreign corporation,
                              Case No. 08-21997 Civ-Moreno/Torres


  Attorney for Defendant, NCL (BAHAMAS), Ltd., d/b/a NORWEGIAN CRUISE LINE
  LIMITED

  (Served via CM/ECF Notice of Electronic Filing and via U.S. Mail)

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